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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  AXSOME THERAPEUTICS, INC. and                         Civil Action No. 23-1695 (MEF)(LDW)
  ANTECIP BIOVENTURES II LLC,
                                                        (Filed Electronically)
                        Plaintiffs,

         v.


  TEVA PHARMACEUTICALS, INC.,

                        Defendant.


                      AXSOME THERAPEUTICS, INC. AND ANTECIP
                       BIOVENTURES II LLC’S ANSWER TO TEVA
                     PHARMACEUTICALS, INC.’S COUNTERCLAIMS

        Axsome Therapeutics, Inc. (“Axsome”) and Antecip Bioventures II LLC (“Antecip”)

 (collectively, “Plaintiffs”), by their undersigned attorneys, hereby answer the Counterclaims to

 Plaintiffs’ Complaint for Patent Infringement by Teva Pharmaceuticals, Inc. (“Teva”), dated May

 30, 2023, as follows. Except as expressly admitted, all allegations are denied.
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                                        COUNTERCLAIMS

                                              PARTIES

       1.      Teva is a corporation organized and existing under the laws of the State of
 Delaware, having a principal place of business at 400 Interpace Parkway, Parsippany, NJ 07054.

        ANSWER: On information and belief, Plaintiffs admit the allegations of paragraph 1.

        2.     On information and belief, Axsome is a corporation existing under the laws of
 Delaware, having a principal place of business at 22 Cortland Street, 16th Floor, New York, NY
 10007.

        ANSWER: Plaintiffs admit that Axsome is a corporation existing under the laws of

 Delaware and that its principal place of business as of the filing of the Complaint was 22

 Cortland Street, 16th Floor, New York, NY 10007, and, except as so admitted, deny the

 allegations of paragraph 2.

        3.      On information and belief, Antecip is a limited liability corporation existing under
 the laws of Delaware, having a principal place of business at 630 Fifth Avenue, Suite 200, New
 York, NY 10111.

        ANSWER: Plaintiffs admit the allegations of paragraph 3.

                                      JURISDICTION AND VENUE

         4.      These Counterclaims arise under the Patent Laws of the United States, 35 U.S.C.
 § 1 et seq., and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        ANSWER: Paragraph 4 states legal conclusions for which no answer is required. To the

 extent that an answer is required, Plaintiffs admit that this Court has declaratory judgment

 jurisdiction over Teva’s Counterclaims as to the patents-in-suit, admit that there is an actual and

 justiciable controversy between the parties, but Plaintiffs deny that Teva is entitled to any of the

 relief that it seeks, and, except as so admitted, deny the allegations of paragraph 4.
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        5.      The Court has original jurisdiction over the subject matter of these Counterclaims
 pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        ANSWER: Paragraph 5 states legal conclusions for which no answer is required. To the

 extent that an answer is required, Plaintiffs admit that this Court has subject matter jurisdiction

 over Teva’s Counterclaims as to the patents-in-suit for purposes of this specific action only,

 admit that there is an actual and justiciable controversy between the parties, but Plaintiffs deny

 that Teva is entitled to any of the relief that it seeks, and, except as so admitted, deny the

 allegations of paragraph 5.

        6.       This Court has personal jurisdiction over Counterclaim-Defendants because
 Counterclaim-Defendants have availed themselves of the rights and privileges, and have
 subjected themselves to the jurisdiction, of this Court by filing this action and/or because
 Counterclaim-Defendants conduct substantial business in, and have regular and systematic
 contacts with, this District.

        ANSWER: Paragraph 6 states legal conclusions for which no answer is required. To the

 extent that an answer is required, Plaintiffs admit that this Court has personal jurisdiction over

 Plaintiffs for the purposes of adjudicating Teva’s Counterclaims as to the patents-in-suit, deny

 that Teva is entitled to any of the relief that it seeks, and, except as so admitted, deny the

 allegations of paragraph 6.

        7.      Venue is proper in this District under 28 U.S.C. §§ 1391(b) and 1400(b).

        ANSWER: Paragraph 7 states legal conclusions for which no answer is required. To the

 extent that an answer is required, Plaintiffs admit that venue is proper to adjudicate this action,

 and, except as so admitted, Plaintiffs deny the allegations of paragraph 7.

                                    FACTUAL BACKGROUND

        8.      According to the United States Food and Drug Administration (“FDA”)
 publication entitled Approved Drug Products with Therapeutic Equivalence Evaluations
 (“Orange Book”), Axsome is the holder of New Drug Application (“NDA”) No. 215430 for
 Auvelity®, a combination of dextromethorphan hydrobromide and bupropion hydrocholoride.

        ANSWER: Plaintiffs admit the allegations of paragraph 8.
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        9.       NDA holders are required to disclose to the FDA the patent numbers of patents
 claiming the drug or method of using such drug for which the NDA is submitted. The FDA lists
 these patents in the Orange Book.

        ANSWER: Paragraph 9 states legal conclusions for which no answer is required. To the

 extent that an answer is required, Plaintiffs admit that 21 C.F.R. U.S.C. §§ 355(b)(1)(A)(viii),

 355(j)(7)(A)(iii) contain statutory provisions relating to food and drugs, including publication by

 the FDA of the “Approved Drug Products with Therapeutic Equivalence Evaluations,”

 commonly called the “Orange Book,” refer to the regulations for the terms thereof, and, except

 as so admitted, deny the allegations of paragraph 9.

         10.     As of May 30, 2023, the Orange Book entry for Auvelity® lists 106 patents. Four
 of these patents include United States Patent Nos. 10,780,064 (“the ’064 patent”), 10,925,842
 (“the ’842 patent”), 10,940,124 (“the ’124 patent”), and 10,966,942 (“the ’942 patent”)
 (collectively, “the patents-in-suit”).

        ANSWER: Plaintiffs admit the allegations of paragraph 10.

        11.      The face of the ’064 patent lists the title as “Bupropion as a Modulator of Drug
 Activity,” the issue date as September 22, 2020, and the assignee as Antecip.

        ANSWER: Plaintiffs admit that on September 22, 2020, the United States Patent and

 Trademark Office (“USPTO”) duly and lawfully issued the ’064 patent, titled, “Bupropion as a

 Modulator of Drug Activity,” admit that Antecip and Axsome are the owner and exclusive

 licensee, respectively, of the ’064 patent, and, except as so admitted, deny the allegations of

 paragraph 11.

        12.      The face of the ’842 patent lists the title as “Bupropion as a Modulator of Drug
 Activity,” the issue date as February 23, 2021, and the assignee as Antecip.

        ANSWER: Plaintiffs admit that on February 23, 2021, the USPTO duly and lawfully

 issued the ’842 patent, titled, “Bupropion as a Modulator of Drug Activity,” that Antecip and

 Axsome are the owner and exclusive licensee, respectively, of the ’842 patent, and, except as so

 admitted, deny the allegations of paragraph 12.
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        13.      The face of the ’124 patent lists the title as “Bupropion as a Modulator of Drug
 Activity,” the issue date as March 9, 2021, and the assignee as Antecip.

        ANSWER: Plaintiffs admit that on March 9, 2021, the USPTO duly and lawfully issued

 the ’124 patent, titled, “Bupropion as a Modulator of Drug Activity,” that Antecip and Axsome

 are the owner and exclusive licensee, respectively, of the ’124 patent, and, except as so admitted,

 deny the allegations of paragraph 13.

        14.      The face of the ’942 patent lists the title as “Bupropion as a Modulator of Drug
 Activity,” the issue date as April 6, 2021, and the assignee as Antecip.

        ANSWER: Plaintiffs admit that, on April 6, 2021, the USPTO duly and lawfully issued

 the ’942 patent, titled, “Bupropion as a Modulator of Drug Activity,” that Antecip and Axsome

 are the owner and exclusive licensee, respectively, of the ’942 patent, and, except as so admitted,

 deny the allegations of paragraph 14.

        15.     Antecip purports to own, and to have the right to enforce, the patents-in-suit.

        ANSWER: Plaintiffs admit that Antecip is the owner of the patents-in-suit, that it has

 the right to enforce each of the patents-in-suit against Teva in this action, and, except as so

 admitted, deny the allegations of paragraph 15.

         16.     Axsome purports to be an exclusive licensee of the patents-in-suit and to have the
 right to enforce the patents in-suit.

        ANSWER: Plaintiffs admit that Axsome is the exclusive licensee of the patents-in-suit,

 that it has the right to enforce each of the patents-in-suit against Teva in this action, and, except

 as so admitted, deny the allegations of paragraph 16.

         17.     Teva submitted Abbreviated New Drug Application (“ANDA”) No. 218147
 (“Teva’s ANDA”) to the FDA under 21 U.S.C. § 355(j) seeking approval to market Teva’s
 proposed Dextromethorphan Hydrobromide and Bupropion Hydrochloride Extended-release
 Tablets, 45 mg/105 mg (“the Teva ANDA Product”). Teva submitted Teva’s ANDA to the FDA
 with a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) with respect to the patents-in-
 suit.
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        ANSWER: Plaintiffs admit on information and belief that Teva submitted ANDA No.

 218147 to obtain FDA approval to engage in the commercial manufacture, use, importation,

 distribution, and/or sale of Teva’s proposed dextromethorphan hydrobromide and bupropion

 hydrochloride extended-release tablets, 45 mg/105 mg (“Teva’s ANDA Product”) prior to the

 expiration of the patents-in-suit. Plaintiffs also admit on information and belief that Teva’s

 ANDA includes a certification under 21 U.S.C. § 355(j)(2)(A)(vii)(IV) with respect to the claims

 of the ’064 patent, the ’842 patent, the ’124 patent, and the ’942 patent, but Plaintiffs deny the

 legitimacy of Teva’s allegations in its ANDA. Except as so admitted, Plaintiffs deny the

 allegations of paragraph 17.

        18.    Teva sent notice of this certification to Counterclaim-Defendants on or about
 February 9, 2023 (“Teva’s Notice Letter”). On information and belief, and as Counterclaim-
 Defendants allege in the Complaint, Counterclaim-Defendants received Teva’s Notice Letter.

        ANSWER: Plaintiffs admit that Axsome received a letter dated February 9, 2023

 (“Teva’s Notice Letter”), in which Teva notified Plaintiffs that Teva’s ANDA included a

 certification under 21 U.S.C. § 355(j)(2)(A)(vii)(IV) with respect to the claims of the ’064

 patent, the ’842 patent, the ’124 patent, and the ’942 patent, but Plaintiffs deny the legitimacy of

 Teva’s arguments in its Notice Letter. Except as so admitted, Plaintiffs deny the allegations of

 paragraph 18.

         19.    On March 24, 2023, Counterclaim-Defendants filed suit in this Judicial District
 against Teva in connection with Teva’s ANDA, alleging Teva’s infringement of the patents-in-
 suit.

        ANSWER: Plaintiffs admit the allegations of paragraph 19.

                                    FIRST COUNTERCLAIM

                 Declaratory Judgment of Noninfringement of the ’064 Patent

         20.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.
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        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

        21.    The manufacture, use, sale, offer for sale, and/or importation of the Teva ANDA
 Product has not infringed, does not infringe, and would not, if marketed, infringe any valid
 and/or enforceable claim of the ’064 patent, either directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of Paragraph 21.

         22.      Teva has not infringed, is not infringing, and will not infringe, directly or
 indirectly, literally or under the doctrine of equivalents, any valid and enforceable claims of
 the ’064 patent.

        ANSWER: Plaintiffs deny the allegations of paragraph 22.

         23.    There is an actual, substantial, and continuing justiciable controversy between
 Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the issuance
 of a declaratory judgement regarding Teva’s non-infringement of the ’064 patent.

        ANSWER: Paragraph 23 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable controversy between the parties regarding the ’064 patent and, except as so

 admitted, deny the allegations of paragraph 23.

         24.     Teva is entitled to a judicial declaration that the manufacture, use, sale, offer for
 sale, and/or importation of the Teva ANDA Product has not infringed, does not infringe, and
 would not, if marketed, infringe any valid and/or enforceable claim of the ’064 patent, either
 directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of paragraph 24.

                                   SECOND COUNTERCLAIM

          Declaratory Judgment of Invalidity or Unenforceability of the ’064 Patent

         25.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

         26.    The claims of the ’064 patent are invalid and/or unenforceable for failure to
 comply with one or more of the conditions of patentability set forth in Title 35 of the United
 States Code, including without limitation, one or more of §§ 101, 102, 103, 111, 112, 116, 135,
 251, 256, and 287, and/or the doctrine of obviousness-type double patenting, and/or judicially
 created doctrines of invalidity or unenforceability.
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        ANSWER: Plaintiffs deny the allegations of paragraph 26.

         27.    There is an actual, substantial, and continuing justiciable case or controversy
 between Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the
 issuance of a declaratory judgment regarding the invalidity and/or unenforceability of the ’064
 patent.

        ANSWER: Paragraph 27 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable case or controversy between the parties regarding the ’064 patent and,

 except as so admitted, deny the allegations of paragraph 27.

         28.    Teva is entitled to a judicial declaration that the claims of the ’064 patent are
 invalid and/or unenforceable.

        ANSWER: Plaintiffs deny the allegations of paragraph 28.

                                    THIRD COUNTERCLAIM

                  Declaratory Judgment of Noninfringement of the ’842 Patent

         29.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

        30.    The manufacture, use, sale, offer for sale, and/or importation of the Teva ANDA
 Product has not infringed, does not infringe, and would not, if marketed, infringe any valid
 and/or enforceable claim of the ’842 patent, either directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of paragraph 30.

         31.      Teva has not infringed, is not infringing, and will not infringe, directly or
 indirectly, literally or under the doctrine of equivalents, any valid and enforceable claims of
 the ’842 patent.

        ANSWER: Plaintiffs deny the allegations of paragraph 31.

         32.    There is an actual, substantial, and continuing justiciable controversy between
 Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the issuance
 of a declaratory judgement regarding Teva’s non-infringement of the ’842 patent.
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        ANSWER: Paragraph 32 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable controversy between the parties regarding the ’842 patent and, except as so

 admitted, deny the allegations of paragraph 32.

         33.     Teva is entitled to a judicial declaration that the manufacture, use, sale, offer for
 sale, and/or importation of the Teva ANDA Product has not infringed, does not infringe, and
 would not, if marketed, infringe any valid and/or enforceable claim of the ’842 patent, either
 directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of paragraph 33.

                                   FOURTH COUNTERCLAIM

              Declaratory Judgment of Invalidity or Unenforceability of the ’842 Patent

         34.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

         35.    The claims of the ’842 patent are invalid and/or unenforceable for failure to
 comply with one or more of the conditions of patentability set forth in Title 35 of the United
 States Code, including without limitation, one or more of §§ 101, 102, 103, 111, 112, 116, 135,
 251, 256, and 287, and/or the doctrine of obviousness-type double patenting, and/or judicially
 created doctrines of invalidity or unenforceability.

        ANSWER: Plaintiffs deny the allegations of paragraph 35.

         36.    There is an actual, substantial, and continuing justiciable case or controversy
 between Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the
 issuance of a declaratory judgment regarding the invalidity and/or unenforceability of the ’842
 patent.

        ANSWER: Paragraph 36 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable case or controversy between the parties regarding the ’842 patent and,

 except as so admitted, deny the allegations of paragraph 36.
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         37.    Teva is entitled to a judicial declaration that the claims of the ’842 patent are
 invalid and/or unenforceable.

        ANSWER: Plaintiffs deny the allegations of paragraph 37.

                                     FIFTH COUNTERCLAIM

                  Declaratory Judgment of Noninfringement of the ’124 Patent

         38.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

        39.    The manufacture, use, sale, offer for sale, and/or importation of the Teva ANDA
 Product has not infringed, does not infringe, and would not, if marketed, infringe any valid
 and/or enforceable claim of the ’124 patent, either directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of paragraph 39.

         40.      Teva has not infringed, is not infringing, and will not infringe, directly or
 indirectly, literally or under the doctrine of equivalents, any valid and enforceable claims of
 the ’124 patent.

        ANSWER: Plaintiffs deny the allegations of paragraph 40.

         41.    There is an actual, substantial, and continuing justiciable controversy between
 Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the issuance
 of a declaratory judgement regarding Teva’s non-infringement of the ’124 patent.

        ANSWER: Paragraph 41 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable controversy between the parties regarding the ’124 patent and, except as so

 admitted, deny the allegations of paragraph 41.

         42.     Teva is entitled to a judicial declaration that the manufacture, use, sale, offer for
 sale, and/or importation of the Teva ANDA Product has not infringed, does not infringe, and
 would not, if marketed, infringe any valid and/or enforceable claim of the ’124 patent, either
 directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of paragraph 42.
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                                    SIXTH COUNTERCLAIM

          Declaratory Judgment of Invalidity or Unenforceability of the ’124 Patent

         43.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

         44.    The claims of the ’124 patent are invalid and/or unenforceable for failure to
 comply with one or more of the conditions of patentability set forth in Title 35 of the United
 States Code, including without limitation, one or more of §§ 101, 102, 103, 111, 112, 116, 135,
 251, 256, and 287, and/or the doctrine of obviousness-type double patenting, and/or judicially
 created doctrines of invalidity or unenforceability.

        ANSWER: Plaintiffs deny the allegations of paragraph 44.

         45.    There is an actual, substantial, and continuing justiciable case or controversy
 between Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the
 issuance of a declaratory judgment regarding the invalidity and/or unenforceability of the ’124
 patent.

        ANSWER: Paragraph 45 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable case or controversy between the parties regarding the ’124 patent and,

 except as so admitted, deny the allegations of paragraph 45.

         46.    Teva is entitled to a judicial declaration that the claims of the ’124 patent are
 invalid and/or unenforceable.

        ANSWER: Plaintiffs deny the allegations of paragraph 46.

                                  SEVENTH COUNTERCLAIM

                  Declaratory Judgment of Noninfringement of the ’942 Patent

         47.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

        48.    The manufacture, use, sale, offer for sale, and/or importation of the Teva ANDA
 Product has not infringed, does not infringe, and would not, if marketed, infringe any valid
 and/or enforceable claim of the ’942 patent, either directly or indirectly.
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        ANSWER: Plaintiffs deny the allegations of paragraph 48.

         49.      Teva has not infringed, is not infringing, and will not infringe, directly or
 indirectly, literally or under the doctrine of equivalents, any valid and enforceable claims of
 the ’942 patent.

        ANSWER: Plaintiffs deny the allegations of paragraph 49.

         50.    There is an actual, substantial, and continuing justiciable controversy between
 Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the issuance
 of a declaratory judgement regarding Teva’s non-infringement of the ’942 patent.

        ANSWER: Paragraph 50 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable controversy between the parties regarding the ’942 patent and, except as so

 admitted, deny the allegations of paragraph 50.

         51.     Teva is entitled to a judicial declaration that the manufacture, use, sale, offer for
 sale, and/or importation of the Teva ANDA Product has not infringed, does not infringe, and
 would not, if marketed, infringe any valid and/or enforceable claim of the ’942 patent, either
 directly or indirectly.

        ANSWER: Plaintiffs deny the allegations of paragraph 51.

                                   EIGHTH COUNTERCLAIM

          Declaratory Judgment of Invalidity or Unenforceability of the ’942 Patent

         52.     Teva repeats and realleges the allegations of the preceding paragraphs as if fully
 set forth herein.

        ANSWER: Plaintiffs incorporate their responses to the preceding paragraphs.

         53.    The claims of the ’942 patent are invalid and/or unenforceable for failure to
 comply with one or more of the conditions of patentability set forth in Title 35 of the United
 States Code, including without limitation, one or more of §§ 101, 102, 103, 111, 112, 116, 135,
 251, 256, and 287, and/or the doctrine of obviousness-type double patenting, and/or judicially
 created doctrines of invalidity or unenforceability.

        ANSWER: Plaintiffs deny the allegations of paragraph 53.

       54.    There is an actual, substantial, and continuing justiciable case or controversy
 between Teva and Counterclaim-Defendants of sufficient immediacy and reality to warrant the
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 issuance of a declaratory judgment regarding the invalidity and/or unenforceability of the ’942
 patent.

        ANSWER: Paragraph 54 states legal conclusions for which no answer is required. To

 the extent an answer is required, Plaintiffs admit that there is an actual, substantial, and

 continuing justiciable case or controversy between the parties regarding the ’942 patent and,

 except as so admitted, deny the allegations of paragraph 54.

         55.    Teva is entitled to a judicial declaration that the claims of the ’942 patent are
 invalid and/or unenforceable.

        ANSWER: Plaintiffs deny the allegations of paragraph 55.

                                      PRAYER FOR RELIEF

        Plaintiffs deny that Teva is entitled to any relief on its Counterclaims, either as prayed for

 in its pleading or otherwise.

                           PLAINTIFFS’ AFFIRMATIVE DEFENSE

        Without prejudice to the denials set forth in this Answer and to the ability to amend this

 Answer to seek and allege any and all defenses not presently known or that are revealed during

 the course of discovery or otherwise, Plaintiffs assert the following affirmative defense in

 response to Teva’s Counterclaims:

                                      Failure to State a Claim

        The Counterclaims fail to state any claim for which relief may be granted.
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